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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT
__________________________________
JAKUB MADEJ                        CIVIL ACTION No. 3:20-cv-00133-JCH

          Plaintiff,
v.
                                                      JURY TRIAL DEMANDED
YALE UNIVERSITY et al.
                                                      MAY 28, 2020
     Defendants.LY??
__________________________________


                                DECLARATION OF JAKUB MADEJ



        JAKUB MADEJ, pursuant to 28 U.S.C. § 1746, declares what follows:


     1. I am over eighteen years of age. I am plaintiff in this case.
     2. I am a student member in good standing of Connecticut Bar Association, and the American
        Bar Association.
     3. I am familiar with the legal and factual issues relevant to this case.
     4. I have fully reviewed and am familiar with the Federal Rules of Civil Procedure, the Local
        Rules of the United States District Court for the District of Connecticut, and the
        Connecticut Rules of Professional Conduct.


     5. I am aware that, under Fed R Civ P 45(d)(1), the court must impose an appropriate
        sanction on a party or attorney responsible for issuing and serving a subpoena that fails to
        take reasonable steps to avoid imposing undue burden or expense on a person subject to
        the subpoena.
     6. I timely complied with all discovery requests propounded on me by defendants. There are
        no pending discovery requests from defendants.
     7. I have not received a response to any discovery request I propounded on any of the
        defendants.
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   8. I propounded the first set of requests for admission on defendant YALE University on May
       6, 2020. Answers to this set expects compliance by June 7, 2020. All remaining requests
       are due after that date.
   9. I was never contacted by defense counsel, or defendants themselves, before defendants filed
       the present motion to stay discovery [Dkt # 94, 96], or motion to dismiss [Dkt # 90].
   10. I have been unable to communicate with defense counsel in relation to the “motion for
       extension of time” [Dkt # 98, 99], which is, in fact, a facially defective motion to quash
       subpoenas.
   11. I have been unable to confer with, or speak to defense counsel despite my countless
       attempts to do so.
   12. I have never taken any action to harass defendants, defense counsel, or defense counsel’s
       family.
   13. I have not communicated, or initiated any contact, with individual defendants since this
       action was commenced on January 30, 2020.
   14. I have not spoken with Mr. Noonan over telephone since March 5, 2020.
   15. I have never met Mr. Noonan in person.


I certify under penalty of perjury that the foregoing is true and correct.


Executed: May 28, 2020 in Oklahoma City, Oklahoma.


                                                              Respectfully submitted,
                                                              /s/ Jakub Madej




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